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                     UNITED STATES DISTRICT COURT

                            DISTRICT OF MAINE


 UNITED STATES OF AMERICA,               )
                                         )
                                         )
 V.                                      )
                                         )   CRIMINAL NO. 2:04-CR-57-DBH-01
 LEROY MOSLEY,                           )
                                         )
                        DEFENDANT        )


          ORDER ON DEFENDANT’S MOTION FOR APPOINTMENT
             OF COUNSEL AND FOR SENTENCE REDUCTION


      The defendant Leroy Mosley has written a letter to the court about his

sentence (ECF No. 264). I treat it as a request to appoint counsel and reduce

sentence on account of the U.S. Sentencing Commission’s reduction of Guideline

sentencing penalties that are based upon drug quantity, Amendment 782. The

Commission ordered that the change be made applicable to defendants already

sentenced, effective November 1, 2014. U.S. Sentencing Guidelines Manual app.

C, Amendment 782 (2014); U.S. Sentencing Guidelines Manual § 1B1.10(d)

(2014).

      Unfortunately for Mr. Mosley, his sentence was based not upon the drug

quantity for which he was responsible, but upon his status as a career offender.

I explained that in detail in my Order of December 1, 2011 (ECF No. 225), issued

on his motion to reduce sentence under an earlier Sentencing Commission

amendment.     The same reasoning applies to this request.       The Guideline

amendment therefore does not help him.
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      Accordingly the motions to appoint counsel and reduce sentence are

DENIED.

      SO ORDERED.

      DATED THIS 24TH DAY OF NOVEMBER, 2014

                                         /S/D. BROCK HORNBY
                                         D. BROCK HORNBY
                                         UNITED STATES DISTRICT JUDGE




                                                                            2
